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                                                                                IN THE DISTRICT COURT FOR THE UNITED STATES
                                                                              FOR THE WESTERN DISTRICT OF THE STATE OF MICHIGAN
PERRONE LAW PLLC (517) 719-4657 – 3310 KRESGE LN., EAST LANSING, MI 48823




                                                                            SARAE CODDINGTON,
                                                                            an individual                                                Case No. 24-CV
                                                                                                                                         Hon.
                                                                                                     Plaintiff,
                                                                            -v-
                                                                            SKOPOS FINANCIAL LLC, a
                                                                            Texas limited liability company
                                                                            REPRISE FINANCIAL LLC, a
                                                                            Texas limited liability company

                                                                                                Defendants.
                                                                            ______________________________________________________________________________
                                                                            PERRONE LAW PLLC
                                                                            Jacob A. Perrone (P71915)
                                                                            Attorneys for Plaintiff
                                                                            3130 Kresge Lane
                                                                            East Lansing, MI 48823
                                                                            (517) 719-4657
                                                                            jacob.perrone@yahoo.com
                                                                            _____________________________________________________________________________/

                                                                                                               _/s/ Jacob A. Perrone_
                                                                                               There is no other pending or resolved civil action arising out
                                                                                                of the transaction or occurrence alleged in the complaint.

                                                                                                                   COMPLAINT
                                                                                   NOW COMES Plaintiff , SARAE CODDINGTON, by and through her attorneys,

                                                                            PERRONE LAW PLLC, and for her Complaint states unto this Honorable Court as follows:


                                                                                            GENERAL ALLEGATIONS AND JURISDICTION
                                                                                   1.       Plaintiff, SARAE CODDINGTON, is individuals residing within Ingham

                                                                            County, Michigan. (hereinafter referred to as “Plaintiff” unless specifically identified otherwise)




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                                                                                   2.      Defendant, SKOPOS FINANCIAL LLC, d/b/a REPRISE FINANCIAL, is a
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                                                                            Texas limited liability company, with a principal place of business located at P.O. BOX 661016.

                                                                            Dallas, TX 75266.

                                                                                   3.      That the amount in controversy is in excess of Seventy-Five Thousand US Dollars

                                                                            ($75,000.00), exclusive of costs, interest and attorney fees, and this action is otherwise properly

                                                                            before this Honorable Court.

                                                                                   4.      Venue is proper in the Western District of Michigan and the transaction or

                                                                            occurrence that is the subject of this Complaint is in Ingham County, Michigan as Plaintiff is

                                                                            present in Michigan and as alleged by REPRISE FINANCIAL they do business in Michigan as

                                                                            they alleged fraudulent loan was for a consumer in Michigan.

                                                                                   5.      REPRISE FINANCIAL operates one of the largest credit companies, and they

                                                                            collect debt against alleged borrowers.

                                                                                   6.      REPRISE FINANCIAL routinely furnishes information to consumer-reporting

                                                                            agencies (“CRAs”) but has failed to maintain reasonable policies and procedures regarding the

                                                                            accuracy and integrity of the information it furnishes, including the handling of consumer

                                                                            disputes, as required by federal law.

                                                                                   7.      REPRISE FINANCIAL has failed to conduct reasonable investigations of certain

                                                                            consumer disputes and has failed to cease furnishing information that was alleged to have been

                                                                            the result of identity theft before it made any determination of whether the information was

                                                                            accurate.

                                                                                   8.      In addition, REPRISE FINANCIAL has attempted to collect a debt without a

                                                                            reasonable basis to assert it was owed.




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                                                                                     9.     Plaintiff brings this action based on Defendant’s violations of § 1036(a)(1)(A) of
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                                                                            the Consumer Financial Protection Act of 2010 (“CFPA”), 12 U.S.C. §§ 5536(a)(1)(A); § 623 of

                                                                            the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681s-2; § 1022.42 of Regulation V, 12

                                                                            C.F.R. § 1022.42; and § 807 of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §

                                                                            1692e.

                                                                                     10.    This Court has subject-matter jurisdiction over this action because it is brought

                                                                            under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1) and presents a federal question,

                                                                            28 U.S.C. § 1331.


                                                                                     11.    Venue is proper in this district because the alleged loan was to a person located in

                                                                            the State of Michigan, in the Western District. 12 U.S.C. § 5564(f).

                                                                                                          FACTUAL BACKGROUND


                                                                                           REPRISE FINANCIALs Handling of Indirect Disputes
                                                                                     12.    REPRISE FINANCIAL furnishes information about debt accounts to CRAs,

                                                                            including the nationwide CRAs Equifax, Experian, and TransUnion (NCRAs), and is currently

                                                                            furnishing information about a significant number of accounts.

                                                                                     13.     At all times material to this Complaint, REPRISE FINANCIAL had unilateral

                                                                            responsibility, financial control, and ultimate decision-making authority regarding any disputes.

                                                                            REPRISE FINANCIAL is responsible for “determining, implementing, and ensuring”

                                                                            REPRISE FINANCIAL policies and procedures, including REPRISE FINANCIAL Manual.

                                                                            At all times material to this Complaint, REPRISE FINANCIAL has transacted business in this

                                                                            district.

                                                                                     14.     At all times material to this Complaint, REPRISE FINANCIAL has furnished


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                                                                            consumer- account information to CRAs. The consumer-account information REPRISE
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                                                                            FINANCIAL has collected and provided is used or expected to be used in connection with a

                                                                            decision regarding the offering or provision of a consumer-financial product or service and

                                                                            furnishing this information is a service offered or provided for use by consumers primarily for

                                                                            personal, family, or household purposes. This activity is a consumer-financial product or

                                                                            service under the CFPA. 12 U.S.C. § 5481(5), (15)(A)(ix).

                                                                                   15.        At all times material to this Complaint, REPRISE FINANCIAL, Inc.,

                                                                            REPRISE FINANCIAL NE, REPRISE FINANCIAL WW, and REPRISE FINANCIAL

                                                                            Holding have been “covered persons” under the CFPA because they engage in offering or

                                                                            providing a consumer-financial product or service. 12 U.S.C. § 5481(5), (6), (15)(A)(ix).

                                                                                   16.        At all times material to this Complaint, REPRISE FINANCIAL Holding has

                                                                            been a “related person,” and therefore a “covered person,” under the CFPA. 12 U.S.C. §

                                                                            5481(25)(C)(i).

                                                                                   17.        At all times material to this Complaint, REPRISE FINANCIAL has been a

                                                                            “persons” under the FCRA. 15 U.S.C. § 1681a(b).

                                                                                   18.        At all times material to this complaint, REPRISE FINANCIAL has regularly

                                                                            furnished information relating to consumers to CRAs for inclusion in consumer reports.

                                                                            Therefore, they have been “furnishers” under Regulation V. 12 C.F.R. § 1022.41(c).

                                                                                   19.        At all times material to this Complaint, REPRISE FINANCIAL has been a

                                                                            “debt collector” under the FDCPA because they have regularly collected or attempted to

                                                                            collect, directly or indirectly, debts owed or due or asserted to be owed to another or have

                                                                            used an instrumentality of interstate commerce or the mails in a business the principal

                                                                            purpose of which is collecting debts. 15 U.S.C. § 1692a(6).


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                                                                                   20.       The FCRA allows consumers to dispute furnished information with a
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                                                                            CRA (referred to as an “indirect dispute”) or directly with a furnisher (referred to as a

                                                                            “direct dispute”). REPRISE FINANCIAL received disputes through the NCRAs for

                                                                            processing Automated Credit Dispute Verifications, which refers to the form that accompanies a

                                                                            consumer’s indirect dispute.

                                                                                   21.       Upon receipt, REPRISE FINANCIAL generally has 30 days to conduct a

                                                                            reasonable investigation of a dispute, as required by FCRA§ 623(b)(1), and to submit a

                                                                            response through E-OSCAR that the disputed information should be deleted, modified, or

                                                                            verified as being accurate as reported.

                                                                                   22.       If REPRISE FINANCIAL does not respond to an indirect dispute within

                                                                            30 days, FCRA § 611(a)(5)(A) requires that the CRA promptly delete the disputed

                                                                            information from the disputing consumer’s file or modify the item, as appropriate, based

                                                                            on the results of the CRA’s own investigation. As a result, if REPRISE FINANCIAL does

                                                                            not timely respond to an indirect dispute concerning information it furnished about a

                                                                            consumer, the disputed information may be deleted from the consumer’s credit file by the

                                                                            CRA.

                                                                                   23.       REPRISE FINANCIAL receives and responds to a substantial amount of

                                                                            disputes each month.

                                                                                   24.       At all times material to this Complaint, REPRISE FINANCIAL has

                                                                            assigned all indirect disputes to be handled on a centralized basis by several employees in

                                                                            its call center. The employees are ostensibly supervised by REPRISE FINANCIAL’s

                                                                            compliance manager.

                                                                                   25.       REPRISE FINANCIAL has provided limited to no affirmative training to

                                                                            its employees about how to conduct reasonable investigations of disputes.
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                                                                                   26.       REPRISE FINANCIAL has not provided employees with any training on
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                                                                            the requirements of the FCRA as they relate to the handling of indirect disputes.

                                                                                   27.       REPRISE FINANCIAL has not monitored the pace at which employees

                                                                            respond to the NCRAs concerning disputes, except to ensure that REPRISE FINANCIAL

                                                                            has responded to all disputes within the time period prescribed by the FCRA, so that the

                                                                            disputed information would not be deleted from consumers’ credit reports by a CRA.

                                                                                     REPRISE FINANCIAL’S POLICIES AND PROCEDURES
                                                                                             REGARDING INDIRECT DISPUTES
                                                                                   28.       REPRISE FINANCIAL has provided limited written guidance to the

                                                                            employees who responded to disputes.

                                                                                   29.       Upon information knowledge and belief, for disputes relating to an

                                                                            account that a consumer alleges is the result of identity theft or fraud, or that the consumer

                                                                            otherwise alleges does not belong to him or her, the Manual instructs employees to verify

                                                                            the disputed information as accurate if the disputing consumer’s Social Security number

                                                                            and name match the information in REPRISE FINANCIAL’s account database. The

                                                                            Manual does not instruct employees to conduct a further inquiry that considers the

                                                                            substantive information provided in a consumer’s dispute.

                                                                                   30.       Upon information knowledge and belief, Reprise Financials’ instruction

                                                                            regarding identity theft claims does not instruct employees to review and consider the

                                                                            supporting documentation, if any, submitted by consumers and transmitted to REPRISE

                                                                            FINANCIAL by the NCRAs, before responding to a dispute.

                                                                                   31.       Reprise Financial does not require employees to save or record any of the

                                                                            information, including supporting documentation submitted by consumers, into REPRISE

                                                                            FINANCIAL’s account database. As a result, REPRISE FINANCIAL cannot reliably

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                                                                            determine whether a dispute is identical or related to one it previously received or
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                                                                            otherwise review the dispute history on an account.

                                                                                   32.       In establishing guidelines, REPRISE FINANCIAL did not consider and

                                                                            incorporate appropriate guidelines from Appendix E of Regulation V, 12 C.F.R. Part

                                                                            1022, which is the implementing regulation for the FCRA. Specifically, REPRISE

                                                                            FINANCIAL did not:

                                                                                           a. establish and implement policies reasonably designed to promote the

                                                                                               objective of conducting reasonable investigations of consumer disputes

                                                                                               and taking appropriate actions based on the outcome of such

                                                                                               investigations;

                                                                                           b. address the following specific, appropriate components in developing its

                                                                                               policies and procedures:

                                                                                           c. establishing and implementing appropriate internal controls regarding

                                                                                               the accuracy and integrity of information about consumers furnished to

                                                                                               consumer reporting agencies, such as by implementing standard

                                                                                               procedures and verifying random samples of information provided to

                                                                                               consumer reporting agencies;

                                                                                           d. training staff that participates in activities related to the furnishing of

                                                                                               information about consumers to consumer reporting agencies to

                                                                                               implement the policies and procedures;

                                                                                           e. conducting reasonable investigations of disputes;

                                                                                           f. conducting a periodic evaluation of its own practices, consumer

                                                                                               reporting agency practices of which the furnisher is aware,


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                                                                                               investigations of disputed information, means of communication, and
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                                                                                               other factors that may affect the accuracy and integrity of information

                                                                                               furnished to consumer reporting agencies; and

                                                                                           g. identify practices or activities that can compromise the accuracy or

                                                                                               integrity of information furnished, such as by:

                                                                                                    i. reviewing REPRISE FINANCIAL’s historical records relating to
                                                                                                       accuracy or integrity or to disputes;
                                                                                                   ii. considering the types of errors, omissions, or other problems that
                                                                                                       may have affected the accuracy or integrity of information REPRISE
                                                                                                       FINANCIAL has furnished; and
                                                                                                  iii. considering feedback received from consumer reporting agencies,
                                                                                                       consumers, or REPRISE FINANCIAL staff.

                                                                                    REPRISE FINANCIAL HAS FAILED TO CONDUCT
                                                                                    REASONABLE INVESTIGATIONS OF DISPUTES
                                                                                   33.       When responding to indirect disputes, REPRISE FINANCIAL employees

                                                                            generally apply limited instructions.

                                                                                   34.       REPRISE FINANCIAL employees have conducted no investigation of

                                                                            the substance of such disputes before purporting to verify the disputed information as

                                                                            accurate.

                                                                                   35.       In numerous instances, when responding to disputes alleging identity

                                                                            theft, REPRISE FINANCIAL employees have only confirmed that the disputing

                                                                            consumer’s Social Security number matched what was in REPRISE FINANCIAL’s files

                                                                            before purporting to verify the disputed information as accurate.

                                                                                   36.       In other instances of disputes alleging identity theft, REPRISE

                                                                            FINANCIAL employees have only checked the disputing consumer’s Social Security

                                                                            number and name, or other unspecified identifying information before purporting to verify

                                                                            the disputed information as accurate.
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                                                                                   37.      These circular inquiries in response to identity theft allegations merely
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                                                                            confirm the same information that REPRISE FINANCIAL furnished in the first place.

                                                                            REPRISE FINANCIAL employees have conducted no further investigation of the disputes

                                                                            before purporting to verify the disputed information as accurate.

                                                                                   38.      REPRISE FINANCIAL employees failed to send the Plaintiff blank

                                                                            identity theft affidavits for completion. In some instances, REPRISE FINANCIAL

                                                                            employees have conducted no further investigation of the consumers’ disputes before

                                                                            purporting to verify the disputed information as accurate.

                                                                                   39.      In numerous instances including in Plaintiff’s case, when responding to

                                                                            disputes that the consumer disputed the account as “not his/hers” and that were

                                                                            accompanied by supporting documentation from consumers, REPRISE FINANCIAL

                                                                            employees have not reviewed or considered the supporting documentation before

                                                                            purporting to verify the disputed information as accurate.

                                                                                   40.      In numerous instances, REPRISE FINANCIAL employees have only

                                                                            checked whether the disputing consumer’s Social Security number matched what was in

                                                                            REPRISE FINANCIAL’s account files when the question of whether the Social Security

                                                                            number matched was not relevant or responsive to the subject matter of the consumer’s

                                                                            disputes. In these instances, REPRISE FINANCIAL employees conducted no further

                                                                            investigation of the consumers’ disputes before purporting to verify the disputed

                                                                            information as accurate.

                                                                                   41.      In numerous instances, with respect to disputes alleging identity theft or

                                                                            fraud or other circumstances under which a reasonable investigation of the dispute required

                                                                            review of original supporting documentation, REPRISE FINANCIAL employees have


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                                                                             purported to verify disputed information as accurate without obtaining or reviewing such
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                                                                             original supporting documentation.

                                                                             REPRISE FINANCIAL Has Continued Furnishing Disputed Information
                                                                                        After Consumers Sent Identity Theft Reports
                                                                                    42.       In addition to the indirect dispute process discussed above, consumers can

                                                                             dispute debts by contacting REPRISE FINANCIAL directly.

                                                                                    43.       In numerous instances including in this instance, the Plaintiff sent

                                                                             REPRISE FINANCIAL police reports or other official reports filed by consumers with a

                                                                             federal, state, or law enforcement agency that have subjected the consumers to criminal

                                                                             penalties for the filing of false information. In those reports, consumers have alleged that

                                                                             their REPRISE FINANCIAL accounts were the result of identity theft or fraud. Those

                                                                             documents are “identity theft reports” under FCRA § 603(q)(4) and 12 C.F.R. 1022.3(i).

                                                                                    44.       REPRISE FINANCIAL has received identity theft reports from

                                                                             consumers via mail at REPRISE FINANCIAL’s regular address for consumer

                                                                             correspondence, or via email or facsimile at the instruction of REPRISE FINANCIAL

                                                                             employees.

                                                                                    45.       In numerous instances, REPRISE FINANCIAL has continued to furnish

                                                                             information concerning such REPRISE FINANCIAL accounts before or without

                                                                             determining that the account was not the result of identity theft or fraud and, therefore,

                                                                             without knowing that the information is correct. At most, REPRISE FINANCIAL

                                                                             employees have noted that the account was disputed, if it had not previously been

                                                                             disputed.




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                                                                                                     COUNT I
                                                                                THE FAIR CREDIT REPORTING ACT AND REGULATION V
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                                                                                     (REPRISE FINANCIAL’s violations of Regulation V)
                                                                                    46.      The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs of this Complaint.

                                                                                    47.      The Furnisher Rule, Part E of Regulation V, requires in 12 C.F.R. §

                                                                             1022.42 that a furnisher of consumer information:

                                                                                            a. establish and implement reasonable written policies and procedures

                                                                                               regarding the accuracy and integrity of the information relating to

                                                                                               consumers that it furnishes to a consumer reporting agency, which must

                                                                                               be appropriate to the nature, size, complexity, and scope of the

                                                                                               furnisher’s activities;

                                                                                            b. consider and incorporate the appropriate guidelines set forth in

                                                                                               Appendix E of 12 C.F.R. Part 1022 in developing such policies and

                                                                                               procedures; and

                                                                                            c. review such policies and procedures periodically and update them as

                                                                                               necessary to ensure their continued effectiveness.

                                                                                    48.     REPRISE FINANCIAL has failed to establish or implement reasonable

                                                                             written policies and procedures regarding the accuracy and integrity of the information

                                                                             REPRISE FINANCIAL furnished to consumer reporting companies, specifically with

                                                                             respect to REPRISE FINANCIAL’s handling of indirect disputes. Instead, REPRISE

                                                                             FINANCIAL’s directed employees to conduct perfunctory and inadequate investigations

                                                                             of disputes.

                                                                                    49.     REPRISE FINANCIAL has failed to consider or incorporate the appropriate


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                                                                             guidelines set forth in Appendix E of 12 C.F.R. Part 1022 in developing its policies and
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                                                                             procedures regarding the handling of disputes.

                                                                                    50.     REPRISE FINANCIAL failed to review its indirect dispute handling

                                                                             policies and procedures and update them as necessary to ensure their continued

                                                                             effectiveness. Instead, despite knowing that its policies and procedures were outdated and

                                                                             ineffective, REPRISE FINANCIAL continued to distribute the same policies and

                                                                             procedures to employees as guidance for how to do their jobs.

                                                                                    51.     Therefore, REPRISE FINANCIAL has violated 12 C.F.R. § 1022.42.

                                                                                                               COUNT II
                                                                                             REPRISE FINANCIAL’s violations of the CFPA
                                                                                                based on its violations of Regulation V

                                                                                    52.     The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs of this Complaint.

                                                                                    53.     The CFPA defines “Federal consumer financial law” to include most

                                                                             provisions of the Fair Credit Reporting Act and to include its implementing regulation,

                                                                             Regulation V. 12 U.S.C. § 5481(12)(F), (14).

                                                                                    54.     REPRISE FINANCIAL is a “covered persons” under the CFPA. 12 U.S.C.

                                                                             § 5481(6).

                                                                                    55.     Under the CFPA, a covered person’s violation of a federal consumer

                                                                             financial law, which includes enumerated consumer laws and rules thereunder, violates the

                                                                             CFPA. 12 U.S.C. §§ 5536(a)(1)(A), 5481(14).

                                                                                    56.     REPRISE FINANCIAL’s violations of Regulation V, described in Count I,

                                                                             constitute violations of § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).



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                                                                                                          COUNT III
                                                                                          REPRISE FINANCIAL’s violations of FCRA § 623(b)(1)
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                                                                                    57.     The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs of this Complaint.

                                                                                    58.     Under § 623(b)(1) of the FCRA, when a furnisher of information to a CRA

                                                                             receives a notice of dispute regarding the completeness or accuracy of the reported

                                                                             information from a CRA in accordance with the provisions of § 611(a)(2) of the FCRA,

                                                                             the furnisher is required to conduct a reasonable investigation and review all relevant

                                                                             information provided by the CRA. The furnisher must then report the results of the

                                                                             investigation to the CRA.

                                                                                    59.     In numerous instances, REPRISE FINANCIAL has not conducted a

                                                                             reasonable investigation, or any investigation, when it has received a notice of dispute

                                                                             from a consumers including Plaintiff under the provisions of § 611(a)(2) of the FCRA.

                                                                                    60.     In addition, in numerous instances, REPRISE FINANCIAL has not

                                                                             reviewed all relevant information provided by the consumer when it has received a notice

                                                                             of dispute under the provisions of § 611(a)(2) of the FCRA.

                                                                                    61.     Therefore, REPRISE FINANCIAL has violated § 623(b)(1) of the FCRA, 15

                                                                             U.S.C. § 1681s- 2(b)(1).

                                                                                                          COUNT IV
                                                                                     REPRISE FINANCIAL’s violations of the CFPA based on its
                                                                                                violations of FCRA § 623(b)(1)
                                                                                    62.     The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs of this Complaint.

                                                                                    63.     The CFPA defines “Federal consumer financial law” to include most

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                                                                             provisions of the Fair Credit Reporting Act and to include its implementing regulation,
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                                                                             Regulation V. 12 U.S.C. § 5481(12)(F), (14).

                                                                                    64.       The REPRISE FINANCIAL entities are “covered persons” under the

                                                                             CFPA. 12 U.S.C. § 5481(6).

                                                                                    65.       Under the CFPA, a covered person’s violation of a federal consumer

                                                                             financial law, which includes enumerated consumer laws and rules thereunder, violates the

                                                                             CFPA. 12 U.S.C. §§ 5536(a)(1)(A), 5481(14).

                                                                                    66.       REPRISE FINANCIAL’s violations of FCRA § 623(b)(1), described in

                                                                             Count I I I , constitute violations of § 1036(a)(1)(A) of the CFPA. 12 U.S.C. §

                                                                             5536(a)(1)(A).

                                                                                                       COUNT V
                                                                                     REPRISE FINANCIAL’s violations of FCRA § 623(a)(6)(B)
                                                                                    67.       The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs this Complaint.

                                                                                    68.       Section 623(a)(6)(B) of the FCRA specifies that a furnisher, upon receipt

                                                                             of an “identity theft report” sent to the address specified by the furnisher for receiving

                                                                             such reports, “may not furnish such information that purports to relate to the consumer to

                                                                             any consumer reporting agency, unless the furnisher subsequently knows or is informed by

                                                                             the consumer that the information is correct.”

                                                                                    69.       In numerous instances including this instance, REPRISE FINANCIAL has

                                                                             received identity theft reports from consumers including Plaintiff relating to account

                                                                             information furnished by REPRISE FINANCIAL. REPRISE FINANCIAL has continued

                                                                             furnishing information about Plaintiff accounts before or without conducting an

                                                                             investigation into the accuracy of the information. Instead, REPRISE FINANCIAL has

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                                                                             only marked the accounts as disputed. As a result, REPRISE FINANCIAL has furnished
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                                                                             such information without knowing whether it was correct.

                                                                                    70.     Therefore, REPRISE FINANCIAL has violated § 623(a)(6)(B) of the

                                                                             FCRA, 15 U.S.C. § 1681s- 2(a)(6)(B).

                                                                                                          COUNT VI
                                                                                  (REPRISE FINANCIAL’s violations of the CFPA based on their
                                                                                              violations of FCRA § 623(a)(6)(B))
                                                                                    71.     The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraphs of this Complaint.

                                                                                    72.     The CFPA defines “Federal consumer financial law” to include most

                                                                             provisions of the Fair Credit Reporting Act and to include its implementing regulation,

                                                                             Regulation V. 12 U.S.C. § 5481(12)(F), (14).

                                                                                    73.     The REPRISE FINANCIAL entities are “covered persons” under the

                                                                             CFPA. 12 U.S.C. § 5481(6).

                                                                                    74.     Under the CFPA, a covered person’s violation of a Federal consumer

                                                                             financial law, which includes enumerated consumer laws and rules thereunder, violates the

                                                                             CFPA. 12 U.S.C. §§ 5536(a)(1)(A), 5481(14).

                                                                                    75.     REPRISE FINANCIAL’s violations of FCRA § 623(a)(6)(B), as described,

                                                                             constitute violations of § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

                                                                                                             COUNT VII
                                                                                             FAIR DEBT COLLECTION PRACTICES ACT
                                                                                              (All Defendants’ violations of FDCPA § 807)
                                                                                    76.     The Plaintiff incorporates by reference the allegations contained in the

                                                                             previous paragraph of this Complaint.

                                                                                    77.     Sections 807 and 807(10) of the FDCPA, 15 U.S.C. § 1692e, e(10), prohibit
                                                                                                                             15
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                                                                             debt collectors from using any false, deceptive, or misleading representation or means in
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                                                                             connection with the collection of any debt.

                                                                                    78.     In numerous instances, in connection with the collection of debts,

                                                                             Defendants, directly or indirectly, expressly or by implication, have represented that they

                                                                             have a reasonable basis to assert that consumers owed certain debts without an adequate

                                                                             investigation when a consumer disputes a debt based on identity theft. This makes it nearly

                                                                             impossible to get the bank to declare a transaction as identity theft, even in obvious cases.

                                                                                    79.     In truth and in fact, in numerous instances, the representations set forth in

                                                                             were false, deceptive, or misleading at the time the representations were made because

                                                                             Defendants did not have a reasonable basis to assert that the consumers or the Plaintiff

                                                                             owed those debts, based on their past course of dealing with specific portfolios of debts.

                                                                             N onetheless, Defendants have continued to represent that consumers owed the claimed

                                                                             amounts on the alleged Debt without obtaining or reviewing additional information that

                                                                             would provide a reasonable basis for such claims even though documentation was provided

                                                                             by Plaintiff including a police report.

                                                                                    80.     In doing so, Defendants have used false, deceptive, or misleading

                                                                             representations or means to collect or attempt to collect any debt, in violation of §§ 807 and

                                                                             807(10) of the FDCPA, 15 U.S.C. § 1692e, 1692e(10).

                                                                                    81.     Therefore, Defendants have violated §§ 807 and 807(10) of the FDCPA, 15

                                                                             U.S.C. § 1692e, § 1692e(10).

                                                                                                               PRAYER FOR RELIEF

                                                                                       WHEREFORE, the Plaintiff requests that the Court, as permitted by 12 U.S.C.
                                                                             § 5565:


                                                                                                                              16
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                                                                                             a.     Permanently enjoin Defendants from committing future violations of
                                                                                     the FCRA, Regulation V, the FDCPA, and the CFPA, and enter such other injunctive
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                                                                                     relief as appropriate;

                                                                                               b.     Impose civil money penalties against Defendants;

                                                                                            c.     Award such relief as the Court finds necessary to redress injury to
                                                                                     consumers resulting from Defendants’ violations of the CFPA, FCRA, Regulation V,
                                                                                     and FDCPA, including but not limited to refund of moneys paid, restitution,
                                                                                     disgorgement or compensation for unjust enrichment, and payment of damages;

                                                                                             d.     Order Defendants to pay the Plaintiff’s attorney’s fees and costs
                                                                                     incurred in connection with proceeding with this action; and

                                                                                               e.     award additional relief as the Court may determine to be just and proper.


                                                                                                                  COUNT VIII
                                                                                                             DEFAMATION/ SLANDER
                                                                                     82. Plaintiff repeats and incorporates by reference the allegations contained in the previous

                                                                             paragraphs as if fully set forth herein.

                                                                                     83. The accusations that Plaintiff defaulted on the loan in question were false because the loan

                                                                             was clearly the result of identity theft and should not have been enforced and reported by Defendants .

                                                                                     84. Defendants, by and through REPRISE FINANCIAL published remarks to third parties with

                                                                             knowledge of the falsity of the statements or in reckless disregard of their truth or falsity including the

                                                                             credit bureaus.

                                                                                     85. The publication was not privileged.

                                                                                     86. The publication of these remarks has resulted in damage to Plaintiff ’s reputation in the

                                                                             community and economic loss, including, but not limited to, the following:

                                                                                               a. emotional distress

                                                                                               b. humiliation, mortification, and embarrassment

                                                                                               c. sleeplessness and anxiety




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                                                                                             d. other damages that may arise during the course of discovery and the course of this
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                                                                                                  trial

                                                                                     WHEREFORE, Plaintiff, SARAE CODDINGTON, respectfully requests that the trier of fact or

                                                                             this Honorable Court enter judgment in her favor and against Defendants in an amount to be determined

                                                                             in excess of $25,000.00, award Plaintiffs exemplary damages and further award interest, costs, and

                                                                             reasonable attorney fees and Plaintiffs’ actual, consequential, and incidental losses sustained b ecause of

                                                                             Defendants’ wrongful actions and that this Honorable Court and grant such other and further relief as the

                                                                             Court deems just and proper.


                                                                                                                    COUNT IX
                                                                                                               EXEMPLARY DAMAGES
                                                                                     87. Plaintiffs repeat and incorporate by reference the allegations contained within previous

                                                                             paragraphs as if fully set forth herein.

                                                                                     88. REPRISE FINANCIAL actions were intentional and malicious and have caused Plaintiffs to

                                                                             suffer humiliation, outrage, and indignation.

                                                                                     89. That REPRISE FINANCIAL actions toward Plaintiff, including false claims, derogatory

                                                                             statements, and falsehoods, at all times hereto, constitute malicious and willful conduct and gross

                                                                             negligence.

                                                                                     90. As a direct and proximate result of REPRISE FINANCIAL actions, exemplary damages must

                                                                             be awarded to Plaintiff for the humiliation, sense of outrage and indignity resulting from the falsehoods

                                                                             and injuries maliciously, willfully, and wantonly inflicted by REPRISE FINANCIAL upon Plaintiff.

                                                                                     WHEREFORE, Plaintiff, SARAE CODDINGTON, respectfully requests that the trier of fact or

                                                                             this Honorable Court enter a judgment in their favor and against Defendants and award exemplary

                                                                             damages in an amount in excess of $25,000 resulting from Defendants intentional and malicious actions

                                                                             that is sufficient to compensate Plaintiff for her actual, consequential, and incidental losses sustained as a



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                                                                             result of Defendants’ wrongful actions and interest, costs, and reasonable attorney fees.
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                                                                                                                                     Respectfully submitted,


                                                                                                                                     PERRONE LAW PLLC

                                                                             Dated: January 27, 2025                                 /s/ Jacob A. Perrone___________
                                                                                                                                     Jacob A. Perrone (P71915)
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